        Case:07-11796-SDB Doc#:38 Filed:11/14/07 Entered:11/14/07 08:52:18                                              Page:1 of 1
                                          IN THE UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF GEORGIA
                                                     AUGUSTA DIVISION


         In the Matter of:                                                          )
                                                                                    )
         KENNETH V HAMILTON & ELEANOR J HAMILTON                                    )             Chapter 13
         1067 EARLE ST, NW                                                          )             Case No. 07-11796
         THOMSON, GA 30824-7262                                                     )
                                                                                    )
         Debtors                                                                    )
                                                                                    )

                                           TRUSTEE'S OBJECTION TO CONFIRMATION

         Comes now, Barnee C. Baxter, Chapter 13 Trustee, and pursuant to 11 U.S.C. 1325 objects to the confirmation of
the Debtors' proposed plan.

         The specific deficiency is:

         NO TAX RETURNS PRODUCED

         Wherefore, the Trustee prays that the Court deny confirmation of Debtors' proposed plan.




                                                                                   /s/ Barnee C. Baxter
                                                                                   Barnee C. Baxter
                                                                                   Chapter 13 Trustee

                                                      CERTIFICATE OF SERVICE


         This objection will be heard at the hearing on confirmation of plan or at a later time assigned by the Court.

         This is to certify that a copy of the foregoing document has been forwarded by first-class mail, postage prepaid to
the above-named Debtors and the attorney for the Debtors whose name appears below, on the 14th day of November,
2007.

                                                                                    /s/ John Eckert
                                                                                    Office of the Chapter 13 Trustee
                                                                                    Post Office Box 2127
                                                                                    Augusta, Georgia 30903




cc:      JAMES T WILSON JR
         ATTORNEY AT LAW
         P O BOX 2112
         AUGUSTA, GA 30903-2112                                                                          Objection-14 Obj. To Confirmation 11/14/07 OBJCONF
